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                                 EXHIBIT A
                                   Proposed Order




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                            IN THE UNITED STATES BANKRUPTCY COURT

                                   FOR THE DISTRICT OF DELAWARE


In re:                                                         )          Chapter 1 1
                                                               )
W.R. GRACE & CO., et aI.,
                                   i
                                                               )          Case No. 01-1139 (JKF)
                                                               )          (Jointly Administered)
                            Debtors.                           )
                                                                   Objection Deadline: February 16,2010 at 10:30 a.m.
                                                                          Hearing Date: February 5, 2010 at 4:00 p.m.

              ORDER AUTHORIZING THE DEBTORS TO (A) ENTER INTO
                     EXIT FINANCING ENGAGEMENT LETTERS;
               (B) PAY CERTAIN FEES AND EXPENSES IN CONNECTION
         THEREWITH; AND (C) FILE THE ENGAGEMENT LETTERS UNDER SEAL

           Upon the motion (the "Motion")2 of W. R. Grace & Co, and W. R. Grace & Co.-Conn.

Gointly and severally, "Grace," and together with the other above-captioned debtors, the

"Debtors"), for entry of an order (this "Order") authorizing the Debtors to (a) enter into two

engagement letters providing for a "best efforts" engagement to provide exit financing (the

"Engagement Letters") by Goldman, Sachs & Co. ("GS&Co."), Goldman Sachs Lending
I The Debtors consist of
                          the following 62 entities: W. R. Grace & Co. (f/a Grace Specialty Chemicals, Inc.), W.
R. Grace & Co.-Conn., A-I Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon, Inc., CB
Biomedical, Inc. (flka Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc., Creative Food 'N
Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC (fla Dewey and Almy
Company), Ecarg, Inc., Five Alewife Boston Ltd., G C Limited Parters I, Inc. (flka Grace Cocoa Limited Parters
I, Inc.), G C Management, Inc. (f/a Grace Cocoa Management, Inc.), GEC Management Corporation, GN
Holdings, Inc., GPC Thomasvile Corp., Gloucester New Communities Company, Inc., Grace A-B Inc., Grace A-B
II Inc., Grace Chemical Company of Cuba, Grace Culinary Systems, Inc., Grace Driling Company, Grace Energy
Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace H-G Inc., Grace H-G II Inc., Grace Hotel
Services Corporation, Grace International Holdings, Inc. (f/k/a Dearborn International Holdings, Inc.), Grace
Offshore Company, Grace PAR Corporation, Grace Petroleum Libya Incorporated, Grace Taron Investors, Inc.,
Grace Ventues Corp., Grace Washington, Inc., W. R. Grace Capital Corporation, W. R. Grace Land Corporation,
Gracoal, Inc., Gracoal II, Inc., Guanica-Caribe Land Development Corporation, Hanover Square Corporation,
Homco International, Inc., Kootenai Development Company, L B Realty, Inc., Litigation Management, Inc. (f/a
GHSC Holding, Inc., Grace JVH, Inc., Asbestos Management, Inc.), Monolith Enterprises, Incorporated, Monroe
Street, Inc., MR Holdings Corp. (flka Nestor-BNA Holdings Corporation), MR Intermedco, Inc. (f/a Nestor-
BNA, Inc.), MRA Staffng Systems, Inc. (f/a British Nursing Association, Inc.), Remedium Group, Inc. (fla
Environmental Liability Management, Inc., E&C Liquidatirg Corp., Emerson & Cumirg, Inc.), Southern Oil, Resin
& Fiberglass, Inc., Water Street Corporation, Axial Basir Ranch Company, CC Parters (f/a Cross Countr
Staffing), Hayden-Gulch West Coal Company, H-G Coal Company.

2      Capitalized terms not defined herein shall have the same meaning ascribed ir the Motion.


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Parners LLC ("GS Lending Partners") and Deutsche Ban Securities Inc. ("DBSI") (together

with GS&Co. and GS Lending Partners, the "Exit Lenders"); (b) pay certain fees and expenses in

connection therewith; and (c) fie the Engagement Letters under seal; and it appearing that the

relief requested is in the best interests of the Debtors' estates, their creditors and other paries in

interest; and the Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334; and it appearing that this Motion is a core proceeding pursuant to 28 U.S.C. § 157(b); and

it appearing that venue of this proceeding and this Motion in this district is proper pursuant to 28

U.S.C. §§ 1408 and 1409; and due and proper notice of this Motion having been provided; and

after due deliberation and sufficient cause appearing therefor, it is hereby ORDERED:

           1. The Motion is granted.

           2. The Debtors are authorized to enter into, and perform under, the Engagement


Letters.

           3. The Debtors are authorized to use estate fuds to pay fees and expenses as set


forth in the Engagement Letters, including the Break-up Fees, if applicable.

           4. The Debtors are authorized to indemnify the Arangers and Investment Banks and


their affliates in accordance with the terms set forth in Anex A of the Engagement Letters.

           5. The Debtors may take any actions necessary to implement the Engagement

Letters, including those uses of estate assets required by the Engagement Letters.

           6. The payment obligations of the Debtors arising under the Engagement Letters

shall be entitled to priority as administrative claims under sections 503(b) and 507(a)(1) of the

Banptcy Code, whether or not the Loan Documents are executed or any of the Exit Facilities

are fuded.




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        7. The Debtors are authorized to file copies of the Engagement Letters (in

substantially the forms annexed as Exhibit B- 1 and Exhibit B-2 to the Motion and incorporated

by reference as though fully set forth herein) under seal, which shall remain under seal and

confidential and, with the exception of the Limited Notice Parties, shall not be made available to

anyone without the written consent of the Debtors and the Exit Lenders or by further order of

this Court, and service of the Motion shall be permitted and deemed suffcient without


transmittal of the Engagement Letters.

        8. The Limited Notice Paries, including the parties that they represent, shall be

bound by this Order and shall at all times keep the Engagement Letters strictly confidential and

shall not disclose the contents of the Engagement Letters to any pary whatsoever, except that

counsel to any ad-hoc or statutorily appointed committee of creditors or equity holders, to the

future claimants' representative for the asbestos personal injury claimants and the future

claimants' representative for the asbestos property damage claims may disclose the Engagement

Letters to their respective professional advisors and committee members, but to no other pary

notwithstanding section 1102(b)(3) of the Banuptcy Code or otherwise, provided that such

professional advisors and committee members that receive the Engagement Letters shall be

bound by this Order and shall at all times keep the Engagement Letters confidentiaL.

        9. The terms and conditions of this Order shall be immediately effective and

enforceable upon entry of the Order.

        10. The Court retains jurisdiction with respect to all matters arising from or related to

the implementation of this Order.

Date:              ,2010
                                             Honorable Judith K. Fitzgerald
                                             United States Bankptcy Judge



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